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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

UNITED STATES OF AMERICA,

 

Plaintiff,

vs. No. 04-20017 D/V
RANDE LAZAR, M.D., d/b/a
OTOLARYNGOLOGY CONSULTANTS
OF MEMPHIS

Defendants.

 

REPORT AND RECOMMENDATION ON DEFENDANT'S MOTION TO SUPPRESS ALL
RECORDS ILLEGALLY SUBPOENAED POST-INDICTMENT FROM HOSPITALS

 

Before the court is the August 27, 2004 motion of the
defendant, Rande Lazarl M.D., d/b/a Otolaryngology Consultants of
Memphis, to suppress all records subpoenaed post-indictment from
local Memphis hospitals pursuant to 18 U.S.C. § 3486. The motion
was referred to the United States Magistrate Judge for a report and
recommendation. A hearing was held on this motion on May 25, 2005.
Although it was set for an evidentiary hearing, no witnesses were
presented. For the following reasons, it is recommended that the
motion be granted.

FACTUAL BACKGROUND

In January of 2004, the grand jury for the Western District of
Tennessee returned a 115-count indictment charging Dr. Lazar with
devising and executing a scheme to defraud and obtain money from

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health care benefit programs in violation of 18 U.S.C. § 1347. A
120-count superseding indictment was returned by the grand jury on
November 19, 2004.

At the time of his indictment, Dr. Lazar had privileges to
practice at Methodist Hospital, LeBohneur Children's Medical
Center, St. Francis Hospital, and Baptist Memorial Hospital in
Memphis, Tennessee. (Ex. 5, Mem. in Supp. of Mot of Baptist Mem.
Healthcare Corp. for an Order Quashing Subpoena at 1~2, In re Dept.
of Justice Subpoena Duces Tecum, No. 04-MC-018DV, Western District
of Tennessee, June 8, 2004). After the indictment was returned,
one hospital in particular, Baptist, suspended Dr. Lazar's
privileges. (Id. at 2.) Baptist then convened a Medical Staff
Executive Committee inquiry to conduct a physician peer review.
(Id.) Dr. Lazar appeared and addressed the committee. (Id.)
Thereafter, Baptist restored Dr. Lazar's privileges subject to
certain conditions and restrictions. (Id.)

Subsequent to the original indictment in this case and before
the superseding indictment; the government, upon learning that Dr.
Lazar made certain representations to the peer review committee,
served local hospitals with Department of Justice administrative
subpoenas under the authority of 18 U.S.C. § 3486 in an effort to
obtain records related to the hospital privileges of Dr. Lazar.

(Ex. 5, Govt.'s Resp. to Mot of Baptist Mem. Healthcare Corp. for

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an Order Quashing Subpoena at l, In re Dept. of Justice Subpoena
Duces Tecum, No. 04-MC-018DV, Western District of Tennessee, June
8, 2004.) On April 20, 2004, the government issued a subpoena
duces tecum to the custodian of records for Baptist seeking “all
records (unredacted) of each and every meeting, gathering,
assembly, and discussion regarding Dr. Rande Lazar's privileges at
the hospital(s).” (Id., Mot. of Baptist, Ex. 1.) The subpoena
defined records as “all transcripts, recordings, documents, files,
minutes, e-mail, handouts, mailings, contracts, agreements, and
correspondence.” (Id.) The government subsequently modified the
subpoenas and limited its request to: (l) documents related to
statements and representations made by Lazar, his counsel or other
representatives during all physician peer review meetings conducted
by the hospital; (2) documents, reports and handouts relied on by
Lazar to support his position for reinstatement; and (3) reports,
records, opinions, and documents, provided by others for
consideration by the peer review committee.

At the time Lazar filed this motion to suppress the subpoenaed
hospital records, he was unaware of the type of subpoenas issued by
the government. His motion was based on knowledge obtained solely
through the government's filings with the court which acknowledged
they had received subpoenaed material. Unaware of the nature of

the subpoenaed material or the government's authority for issuance

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of the subpoenas, Lazar’s motion to suppress was based on the
assumption that the government used either trial subpoenas pursuant
to Federal Rule of Criminal Procedure l7(c), which requires a court
order for ex parte access to trial subpoena materials, or
alternatively, a grand jury subpoena to gather evidence post-
indictment.

The government's response to the present.motion clarified that
the contested subpoenas were Department of Justice (“DOJ”)
administrative subpoenas issued under the authority of Title 18
U.S.C. § 3486(a)(1)(A), and not trial or grand jury subpoenas.
Therefore, Rule 17(c) does not apply, nor does case law forbidding
the use of grand jury subpoenas to gather post-indictment evidence.

In his reply brief, Lazar concedes that his assumption that
the government had used trial or grand jury subpoenas was
incorrect. Nevertheless, Lazar contends that the government's use
of DOJ health care administrative subpoenas under 18 U.S.C. § 3486
to obtain trial evidence was improper because the subpoenas
exceeded the authority granted by section 3486, they were not based
on probable cause, and the use thereof violates Lazar's right to
due process and a fair trial under the Fifth and Sixth Amendments.

The government insists that Lazar lacks standing to challenge
the validity of the subpoenas issued to the hospitals because the

subpoenas were issued to third parties and Lazar lacks any

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legitimate expectation of privacy in the hospital records. Lazar
contests the government's assertion that he lacks standing to
challenge the administrative subpoenas.
PROPOSED CONCLUSIONS OF LAW

The first issue is whether Lazar has standing to challenge
subpoenas directed towards the third-party hospitals. If the court
finds Lazar has standing, then the court must determine whether the
government's post-indictment use of DOJ health care administrative
subpoenas under 18 U.S.C. § 3486 exceeds the authority granted by
§ 3486.
I. Standing to Move for Suppression of Records From Hospitals

The government cites United States v. Rhibbs, 999 F.2d 1053
(6th Cir. 1993) as authority for the proposition that a defendant
has no standing to contest on Fourth Amendment grounds
administrative subpoenas issued to third parties unless the party
can show some personal right or expectation of privacy attached to
the subpoenaed materials. Rhibbs involved a defendant, Rojas, who
was convicted of participating in a cocaine ring. Rojas was
originally indicted in. May' of 1990 in a single-count, sealed
indictment. A 13-count superseding indictment was returned against
Rojas in March of 1991. After the return of the original
indictment and before the superseding indictment was returned, the

government issued DEA administrative subpoenas under the authority

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of 21 U.S.C. § 876(a) for Rojas’ telephone records and those of his
co-defendants and for Rojas’ credit card statements. Rojas
contended that records subpoenaed from the telephone company were
an abuse of subpoena power.

The court stated that although recipients of administrative
subpoenas were extended Fourth Amendment protection, Rojas did not
have standing to dispute the issuance of the subpoenas since they
were directed to third party businesses unless Rojas had “a
legitimate expectation of privacy attaching to the records
obtained.” Phibbs, 99 F.2d at 1077. The court determined that
Rojas did not have a legitimate expectation of privacy in any of
the materials, including his phone records and credit card
statementsl because the subpoenaed records contained information
“readily accessible to employees during the normal course of
business”. Id. at 1078. The court held therefore that Rojas
lacked standing to challenge the government's use of DEA subpoenas
post-indictment. See also United States v. dDaniels, 2000 WL
764951(D. Kan. 2000)(holding defendant lacked standing to challenge
DOJ post-indictment health care subpoenas issued under 18 U.S.C. §
3486 without explaining the nature of the records sought); United
States v. befstt, 84 F.3d 1291 (10th Cir. 1996)(holding defendant
lacked standing to challenge pre-indictment DEA administrative

subpoena issued under 21 U.S.C. § 876(a) for train manifest - a

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business record.of Amtrack - because defendant had not expectation
of privacy in the information).

The present case differs from Rhibbs. Unlike the telephone and
credit card records subpoenaed in Phibbs, the hospital records at
issue here were not “readily accessible to employees during the
normal course of business.” The records sought by the DOJ
subpoenas in this case were generated by the hospitals pursuant to
medical peer review committee proceedings. The Tennessee Peer
Review Law of 1967, Tenn. Code Ann. § 63-6-219(e), provides that
all information, reports, statements, memoranda or other data
furnished to or generated by a medical peer review committee, and
any findings, conclusions or recommendations resulting from the
proceedings of such committee are privileged and confidential. The
purpose of Tennessee's Peer Review Law is to candidly and
objectively evaluate and review a physician's professional conduct,
competence, and ability to practice medicine. Tenn. Code Ann. §63-
6-219(b)(1). It goes without saying that confidentially of peer
review committee proceedings is important to the process. Id. The
Tennessee Peer Statute recognizes “that confidentiality is
essential both to effective functioning of these peer review
committees and to continued improvement in the care and treatment
of patients.” Id. The statute further states “[T]he records and

proceedings of any such committees are confidential and shall be

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used. by such committee, and the members thereof only in the
exercise of the proper functions of the committee, and shall not be
public records nor be available for court subpoena or for discovery
proceedings.” Tenn. Code Ann. § 63-6-219(e). According to the
statute, the records can be disclosed to the affected physician
under review without waiving the confidentiality of the records.
A legitimate expectation of privacy is “an expectation of
privacy that society is prepared to consider reasonable." United
States v. Jacobsen, 466 U.S. 109, 113 (1984). Because by statute
the peer review committee records are to be kept confidential but
still available to the affected.physician, Lazar has an expectation
of privacy in the records sought by the subpoenas that society
would recognize as reasonable. Thus, Lazar has standing to
challenge the validity of the DOJ subpoenas based on the fact that
discussions between him and the hospital and records concerning his
reinstatement were, and remain, highly confidential. The :Eact
that there is no peer review privilege in federal court does not
foreclose Lazar from having an expectation of privacy in
conversations and/or meetings he had with the hospital concerning
his reinstatement or records of the proceedings nor does it make
the record non-confidential. Accordingly, Lazar has a legitimate
expectation of privacy in the subpoenaed records sufficient to

confer standing to challenge the validity of the DOJ subpoenas.

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bazar also relies on the Sixth Circuit's decision in In re
Letter Rogatory from the Justice Court, District of Mbntreal,
Canada, 523 F.2d 562 (6th Cir. 1975) to support his standing to
challenge the DOJ subpoenas issued to the third party hospitals.
In that case, the government maintained that the appellant lacked
standing to challenge a subpoena issued pursuant to 28 U.S.C. §
1782 to obtain records from a bank because the appellant had no
proprietary interest in the records. Section 1782 was enacted by
Congress to provide judicial assistance for courts in other
countries in furtherance of an investigation. The appellant alleged
that the district court had exceeded the terms of the statute by
issuing a subpoena in connection with a criminal investigation.
The appellant sought to challenge the subpoena on the basis that §
1782 was not applicable to criminal prosecutions. The Sixth
Circuit rejected the government's argument that the appellant
lacked standing, holding that “a party against whom the requested
information is being used has standing to challenge the validity of
a subpoena on the ground that it is in excess of the terms of the
applicable statute." Id. at 563-64.

The facts of this case present a similar situation. The
subpoenas that were issued by the Department of Justice in the
present case are authorized by Congress under 18 U.S.C. § 3486.

Like the appellant in In re Letter Rogatory, Lazar has alleged that

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the government has exceeded its congressionally mandated statutory
authority by using 18 U.S.C. § 3486 DOJ health care administrative
subpoenas in lieu of Federal Rule of Criminal Procedure 17
subpoenas to prosecute a pending indictment. Specifically, Lazar

is challenging the validity of the DOJ subpoenas on the ground that

 

 

 

 

 

 

 

 

The government maintains that the post-indictment DOJ
subpoenas issued under the authority of 18 U.S.C. § 3486 were valid
as they were issued in connection with an on-going investigation

relating to a federal health care offense. According to the

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government, the information obtained from the post-indictment
subpoenas was used to form the basis of additional counts alleged
in the superseding indictment.

In response, Lazar submits that the government's authority to
use DOJ health care subpoenas is limited by the words of the
statute to criminal investigations and not for gathering evidence
for the prosecution of pending criminal cases. According to Lazar,
the term “investigation” encompasses all actions taken by the
government which may eventually lead to an indictment. Thus,
investigation does not include steps taken to prepare for and
prosecute pending criminal cases or to discover evidence related to
the original indictment. In this case, Lazar alleges that the DOJ
subpoenas were used to gather evidence in preparation for
prosecution of the pending indictment; therefore, the government
exceeded the plain language of the statute.

Section 3486 authorizes the Attorney General to issue in
writing an administrative subpoena requesting the production of any
records relevant to “any investigation of a Federal health care
offense.” It states:

§ 3486. Administrative subpoenas

(a) Authorization.

(1)In any investigation of -
(i) A Federal health care offense . . . , the
Attorney General . . . may issue in writing

and cause to be served a subpoena requiring
the production and testimony describe in

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subparagraph (B).

18 U.S.C. § 3486. The term “federal health care offense” is
defined in 18 U.S.C. § 24 as a violation of, or a criminal
conspiracy to violate, 18 U.S.C. § 669 (theft or embezzlement from
a health care benefit program), § 1035 (making false statements in
relation to delivery of or payment for health care benefits), §
1347 (fraud on a health care benefit program) or § 1518
(obstruction of criminal investigation of health care offenses).
18 U.S.C. § 24. Lazar has been charged with violations of 18
U.S.C. § 1347. The term “investigation” is not defined in the
statute or title.

This statute effectively gives the federal government's chief
prosecutor broad investigatory subpoena powers. Pursuant to the
plain language of the statute, these powers may only be used in
furtherance of investigating' criminal health. care offenses as
opposed to regulatory compliance or both civil regulatory matters
and criminal matters. In re Subpoenas Duces Tecum, 51 F.Supp.2d
726, 735 (W.D.Va. 1999). Indeed, the Congressional Record
indicates that Congress intended to enhance the investigatory tools
of the United States in criminal health care fraud investigations.
The statute itself contains no limitations on the use of the
administrative criminal investigatory subpoenas.

On the other hand, as evidenced by the plain language of the

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statute, Congress did not include any specific grant of authority
to the Department of Justice to use administrative health care
subpoenas to gather evidence for an upcoming trial. Had Congress
intended for administrative criminal investigatory subpoenas to be
used to enhance discovery of evidence related to the charges in a
pending indictment. Congress could have explicitly provided such
authority in the statute.

The Supreme Court has made clear that the use of
administrative subpoenas to gather evidence for criminal
prosecution of an indicted defendant is forbidden. In United
States v. LaSalle Nat. Bank, 437 U.S. 298 (1978), the Court faced
the issue of whether an IRS subpoena is proper when the sole
purpose was to unearth evidence of criminal conduct. In LaSalle,
the Internal Revenue Service agent issued two summonses pursuant to
26 U.S.C. § 7602 to LaSalle National Bank. LaSalle refused to
produce the materials requested because it argued that the IRS
investigation was purely criminal in nature. The IRS sought
enforcement of the summonses. The trial court denied enforcement
on the ground that the IRS did not issue the summons in good faith
because the summons was issued solely to obtain evidence for use in

a criminal prosecution. The appellate court affirmed.

The Supreme Court granted certiorari to determine whether the
lower court correctly refused to enforce the IRS summonses. The

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Court reversed and held that because Congress created a tax
enforcement systen\with.interrelated criminal and civil elements in
enacting 26 U.S.C. § 7602, it did not intend for IRS subpoena power
to be limited. merely because of the presence of a criminal

violation.

The Court's discussion regarding the use of an administrative
summons did not end there, however. The Court went on to discuss
the limitations on the use of a § 7602 summons and the policy
concerns that arise at the time when. a case is referred for

criminal prosecution to the Judicial Department. The Court stated

that:

Nothing in § 7602 or its legislative history suggests
that Congress intended the summons authority to broaden
the Justice Department's right of criminal litigation
discovery or to infringe on the role of the grand jury as
a principal tool of criminal accusation. The likelihood
that discovery would be broadened or the role of the
grand jury infringed is substantial if post-referral use
of the summons authority were permitted.

Id. at 312. The Court further stated that:

We cannot deny that the potential for expanding the
criminal discovery rights of the Justice Department or
for usurping the role of the grand jury exists at the
point of the recommendation by the special agent.

Id. at n.15. Based on these statements, it is clear that the Court

was not willing to empower the Department of Justice with the

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authority to secure criminal litigation discovery through. an
administrative subpoena. The same is true for an administrative

subpoena under the authority of 18 U.S.C. § 3486.

In the present the case, the court need not decide whether the
phrase “in any investigation” as used in 18 U.S.C. § 3486
contemplates the use of an administrative health care subpoena to
obtain litigation discovery for use in the prosecution of a pending
indictment.1 Rather, the pivotal issue is factual: whether the
government issued the subpoena as part of an ongoing criminal
investigation. This factual inquiry' necessarily raises the

question of which party bears the burden of proof.

The court recognizes that in both United States v. LaSalle,
437 U.S. 298 (1978) and United States v. Weingarden, 473 F.2d 454
(6th Cir. 1973), the Supreme Court and the Sixth Circuit Court of
Appeals concluded that the burden of proof was on the respondent,
rather than the government, to show that the sole purpose of the
summons was to obtain evidence for a criminal prosecution. Unlike

the present case, however. these cases dealt specifically with

 

1. The government more or less concedes as much in its
response. In its response, the government cites United States
v. Breitkreutz, 977 F.2d 214 (6th Cir. 1992) for the
proposition that it could have used grand jury subpoenas
rather than § 3486 subpoenas to investigate post-indictment,
as long as the sole or dominant purpose was not to discover
facts about the pending indictment.

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summonses issued for both civil and criminal investigations. As
stated before, § 3486 subpoenas are only to be issued as a part of
a criminal investigation. Thus, as the cases cited above are
distinguishable from the instant case, the court is not bound by

the Court's findings in regard to the burden of proof.

In the present case.r the court finds that the government
should bear the burden of proving that its intentions in issuing §
3486 subpoenas were to seek information that was related to the
investigation of potential criminal violations, rather than to
discover information to be used in the prosecution of a pending
indictment. This would no doubt be an impossible burden for a
criminal defendant to prove as a defendant would not privy to the
government's intentions, nor would the defendant be privy to the
information received by the government as a result of the
subpoenas. Indeed, the court cannot envision a scenario where a
defendant would ever be able to disprove that the government was
seeking information for a subsequent indictment. Therefore, the
government, as the party who seeks the subpoenaed information, must
prove its intentions were in conformity with the language of the 18

U.S.C. § 3486 when a defendant presents a challenge of this kind.

The government insists that the subpoenas were not issued for

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the purposes of trial preparation or discovery but rather as part
of an ongoing health care fraud investigation of Lazar. In its
responsive pleadings in 04-MC-018, the government states that the
records were sought to “provid[e] the government with crucial
information related to the defendant and the ongoing scheme to
defraud.” Indeed, the government stated in open court that some of
the information sought by the subpoenas was used in connection with
the superseding indictment. Because these conclusory statements,
did not satisfy the court, the government was directed to file an
in camera submission with the court on or before June 2, 2005, to
verify and explain more thoroughly its ongoing criminal
investigation. The government submitted this information on June
23, 2005. along with a brief explaining the significance of each
category of subpoenas and how each related to the superseding
indictment. After reviewing the subpoenas issued to the hospitals
and the superseding indictment, the court finds that the
government's statements regardingl an. ongoing investigation. are
still conclusory and the government has offered no evidence that
suggests that the information received as a result of the subpoenas
was used to indict Lazar on further counts in the superseding
indictmentl nor has the government offered any evidence to suggest
that the subpoenas issued to the hospitals were seeking information

to support a superseding indictment.

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The superseding indictment restated 114 of the original 115
counts that were present in the initial indictment. There were six
new counts added to the superseding indictment bringing the total
number of counts to 120. Three of the new counts were related to
alleged upcoding of patient bills. The government concedes that
the information which provides the basis for these counts was
received from subpoenas issued to Managed Care Organizations not
from the subpoenas issued to the hospitals. Likewise, the
information which forms the basis of the three other new counts for
false certifications of payments was obtained by issuing subpoenas
to colleges and university hospitals as well as to the American
Board of Otolaryngology. Thus, none of the new counts were added
as a result of information received from subpoenas issued to local

hospitals.

The subpoenas issued to the hospitals pursuant to § 3486
sought records of every meeting or discussion regarding Dr. Lazar's
privileges at the hospital. The nature of these records do not
lend themselves to potential criminal violations. 7Dr. Lazar’s
privileges had been suspended because of his past conduct giving
rise to the original indictment in January of 2004. Despite having
numerous opportunities to do so, the government has failed to
demonstrate how Lazar's alleged false representations made to peer
review committees would or did lead to further criminal violations.

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Moreover, the government has failed to explain to the satisfaction
of the court how healthcare subpoenas issued to hospitals regarding
a doctor’s privileges would lead to further charges of healthcare

fraud.

As such, the government's use of DOJ subpoenas for some
purpose other than an investigation. was beyond that which is
authorized by the statute. Accordingly, it is recommended that all

records subpoenaed post-indictment from hospitals be suppressed.
CONCLUSION

It is recommended that Lazar's motion to suppress all records

subpoenaed from hospitals be granted.

Respectfully submitted this 29th day of July, 2005.

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DIANE K. VESCOVO
UNITED STATES M.AGISTRATE JUDGE

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Honorable Bernice Donald
US DISTRICT COURT

